Case 8:21-cv-02429-SDM-TGW Document 115 Filed 02/25/22 Page 1 of 2 PageID 7848




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA

 NAVY SEAL # 1, et al.,

                            Plaintiffs,
                                                       Case No. 8:21-cv-02429-SDM-TGW
       v.

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et al.,

                            Defendants.

                                 NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all Defendants hereby appeal to the United

 States Court of Appeals for the Eleventh Circuit from this Court’s Preliminary

 Injunction and Order, ECF No. 111, granting Plaintiffs’ motion for preliminary relief,

 ECF No. 60.


 Dated: February 25, 2022                     Respectfully submitted,

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Case 8:21-cv-02429-SDM-TGW Document 115 Filed 02/25/22 Page 2 of 2 PageID 7849




                             CERTIFICATE OF SERVICE

        On February 25, 2022, I electronically submitted the foregoing document with

 the clerk of court for the U.S. District Court, Middle District of Florida, using the

 electronic case filing system of the Court. I hereby certify that I have served all parties

 electronically or by another manner authorized by Federal Rule of Civil Procedure

 5(b)(2).

                                          /s/ Zachary A. Avallone
                                          ZACHARY A. AVALLONE
                                          Trial Attorney
                                          U.S. Department of Justice
